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RUMONT KiRKPATRICK, ) "*~»"S
Plaintiff, §
vs. § Civil Action No.: 1:03-1236- B/P
CORRECTIONS CORPORATION §
OF AMERICA, et al., )
Defendants. §

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction cf the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable with the Ceurt, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
Scheduled Status Conference on June 24, 2005.

Dated: this O[- dayof :S_\Jt\.€_ ,2005.

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This notice confirms a copy of the document docketed as number 33 in
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Honorable .1. Breen
US DISTRICT COURT

